  Case:Case
        16-3187
            5:10-cv-01502-EGS
                   Document: 003113283104
                                Document 530 Page:
                                              Filed107/05/19
                                                        Date Filed:
                                                              Page07/05/2019
                                                                    1 of 3




                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                _____________

                           Nos. 16-3187, 16-3188, 17-1548
                                   _____________

                                WM. C. PLOUFFE, JR.,
              in his Individual Capacity and as a Private Attorney General

                                           v.

      F. JAVIER CEVALLOS, President of Kutztown University of Pennsylvania,
         As Employee, Officer, Supervisor, and/or Policymaker in his Individual
            and Official Capacities; ANNE ZAYAITZ, Dean of the College of
            Liberal Arts and Sciences of Kutztown University of Pennsylvania,
  as Employee, Officer, Supervisor, and/or Policymaker in her Individual and Official
        Capacities; SHARON PICUS, Executive Director of Human Resources of
 Kutztown University of Pennsylvania, as employee, Officer, Supervisor, and/or Policy
Maker in her Individual and Official Capacities; ALEXANDER PISCIOTTA, Chair and
 Professor, Criminal Justice Department of Kutztown University as Employee, Officer,
        Supervisor, and/or Policy Maker in his Individual and Official Capacities;
 DEBORAH SEIGER, Professor, Criminal Justice Department of Kutztown University,
         in her Individual and Official Capacities; PIETRO TOGGIA, Professor,
   Criminal Justice Department of Kutztown University, in his Individual and Official
 Capacities; MARK RENZEMA, Professor, Criminal Justice Department of Kutztown
  University, in his Individual and Official Capacities; MAHFUZUL KHONDAKER,
 Professor, Criminal Justice Department of Kutztown University, in his Individual and
Official Capacities; JONATHAN KREMSER, Professor, Criminal Justice Department of
    Kutztown University, in his Individual and Official Capacities; KEITH LOGAN,
 Professor, Criminal Justice Department of Kutztown University, in his Individual and
    Official Capacities; GARY CORDNER, Professor, Criminal Justice Department
    of Kutztown University, in his Individual and Official Capacities; ANN MARIA
      CORDNER, Professor, Criminal Justice Department of Kutztown University,
      in her Individual and Official Capacities; JOHN DOES, Employees, Officers,
 Supervisors, and/or Policy Makers of Kutztown University, and/or Pennsylvania State
  System of Higher Education (PASSHE), In their Official and Individual Capacities;
ROBERT WATROUS, Dean of Student Services of Kutztown University, as Employee,
       Officer, Supervisor and/or Policy Maker in his Individual Capacity; JOHN
     CAVANAUGH, Chancellor of Pennsylvania State System of Higher Education
  (PASSHE), as Employee, Officer, Supervisor, and/or Policy Maker in his Individual
    Capacity; MICHAEL MOTTOLA, Human Resources/Labor Relations Officer of
   Case:Case
         16-3187
             5:10-cv-01502-EGS
                    Document: 003113283104
                                 Document 530 Page:
                                               Filed207/05/19
                                                         Date Filed:
                                                               Page07/05/2019
                                                                     2 of 3



   Pennsylvania State System of Higher Education (PASSHE), as Employee, Officer,
      Supervisor, and/or Policy Maker in his Individual Capacity; KUTZTOWN
     UNIVERSITY, A Subordinate Entity and/or Agency of the Commonwealth of
                                    Pennsylvania

                                                  Wm. C. Plouffe, Jr.,
                                                  Appellant in 16-3187 & 17-1548

                                             v.

  MICHAEL GAMBONE, Professor, History Department of Kutztown University and
  member, representative, agent, officer, and/or employee of APSCUF in his individual
     capacity and his official capacity as an APSCUF member, agent, representative,
    officer and/or employee of APSCUF; STEVE HICKS, President of APSCUF in his
        individual capacity and his official capacity as an APSCUF member, agent,
      representative, supervisor, officer, employee, and/or policymaker of APSCUF;
 JULIE REESE, Director of APSCUF in her individual capacity and her official capacity
   as an APSCUF member, agent, representative, supervisor, officer, employee, and/or
policymaker of APSCUF; ASSOCIATION OF PENNSYLVANIA STATE COLLEGE &
 UNIVERSITY FACULTIES; JOHN DOES, in their individual capacity and her official
  capacity as an APSCUF member, agent, representative, officer, supervisor, employee
     and/or policymaker of APSCUF; PIETRO TOGGIA, Professor, Criminal Justice
   Department of Kutztown University, in his individual capacity and in his individual
    and his official capacity as an APSCUF member, agent, representative, supervisor,
   officer, employee, and/or policymaker of APSCUF; MARK RENZEMA, Professor,
Criminal Justice Department of Kutztown University, in his individual capacity and in his
    individual and his official capacity as an APSCUF member, agent, representative,
              supervisor, officer, employee, and/or policymaker of APSCUF;
      JONATHAN KREMSER, Professor, Criminal Justice Department of Kutztown
 University, in his individual capacity and in his individual and his official capacity as an
      APSCUF member, agent, representative, supervisor, officer, employee, and/or
                                  policymaker of APSCUF

                                              Wm. C. Plouffe, Jr.,
                                              Appellant in 16-3188 & 17-1548
                                    _______________

                     On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                      (D.C. Nos. 5-10-cv-01502 & 5-11-cv-06390)
                         District Judge: Hon. Edward G. Smith
                                    _______________


                                             2
   Case:Case
         16-3187
             5:10-cv-01502-EGS
                    Document: 003113283104
                                 Document 530 Page:
                                               Filed307/05/19
                                                         Date Filed:
                                                               Page07/05/2019
                                                                     3 of 3



                          Submitted Under Third Circuit LAR 34.1(a)
                                       June 10, 2019

                Before: JORDAN, BIBAS, and NYGAARD, Circuit Judges.

                                         _______________

                                           JUDGMENT
                                         _______________

       This cause came to be considered on the record from the United States District
Court for the Eastern District of Pennsylvania and was submitted pursuant to Third
Circuit L.A.R. 34.1(a) on June 10, 2019. On consideration whereof,


       It is now hereby ORDERED and ADJUDGED that the Orders of the District
Court entered on June 28, 2016 and February 17, 2017 are hereby AFFIRMED. All of
the above in accordance with the opinion of this Court. Costs shall be taxed against
Appellant.


                                               ATTEST:


                                               s/ Patricia S. Dodszuweitt
                                               Clerk
DATED: June 12, 2019




 Certified as a true copy and issued in lieu
 of a formal mandate on      07/05/19

Teste:
Clerk, U.S. Court of Appeals for the Third Circuit




                                                 3
